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                                    TINITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                       FT. LAUDERDALE DIVISION


                                                         CASE NO


  NICHOLAS PICCOLO and JANET
  PICCOLO, his wife,

            Plaintiffs,

  V


  CBRE,INC.,

            Defendant.


                                            NOTICE OF'REMOVAL

            Defendant, CBRE, INC. (hereinafter "CBRE"), files this Notice of Removal to remove the

  foregoing cause to the United States District Court for the Southern District of Florida, Broward

  County Division, and respectfully shows this Court the following:

                          I.   STATEMENT OF THE GROUNDS F'OR REMOVAL

              This Notice of Removal is based on diversity jurisdiction pursuant to 28 U.S.C. $ 1332

  et seq.

                                II. BASIS F'OR D                          JURISDICTION

            1.      Plaintiffs, NICHOLAS PICCOLO AND JANET PICCOLO ("Plaintiffs"),

  commenced this          civil litigation in the 17th Judicial Circuit Court in and for Broward County,

 Florida styled NICHOLAS PICCOLO and JANET PICCOLO v. CBRE, INC., CASE NO. CACE

  l8-013518(the"Action"). AttachedheretoaspartofExhibit"l"isacopyofPlaintiffsComplaint.

            2.      CBRE was served with the Complaint on or about June 28, 2018. Attached hereto

 as part    of Exhibit r' 1'' is the service proof of said Complaint.




       FOWLER WHITE BURNETT P.A. . BRICKELL ARCH,   I395 BRICKELL AVENUE, I4ilI FLooR, MIAMI, FLoRIDA 3313I . (305) 789-9200
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          3.        While the complaint is highly vague and ambiguous, this is an alleged personal

  injury case in which CBRE is alleged to have been negligent because Plaintiff tripped and fell due

  to "a deep pothole" somewhere in the parking lot of the CBRE managed premises located at                                  101

  North Federal Highway, Deerfield Beach, Florida. Plaintiffs complaint alleges a host of legal

  conclusions centered around the "deep pothole" and that CBRE somehow negligently created or

  permitted the aforementioned dangerous andhazardous condition to remain upon the premises and

  failed to warn Plaintiff of the same.

          4.        On July 18, 2018, CBRE notified Plaintiff of its intention to remove this action.

  Attached hereto as Exhibit "2" is CBRE's correspondence to Plaintiffs counsel dated July 18, 2018

  providing notice of the intent to remove and the accompanying Joint Stipulation of Alleged

  Damages      for signing by Plaintiffs counsel. Undersigned counsel also prepared a Motion for

  Extension of Time to Respond to the Complaint citing how this case may be removed. Attached

  hereto as Exhibit "3" is Defendant's Motion for Extension of Time. Undersigned counsel further

  prepared the proposed Joint Stipulation of Alleged Damages for signing by                       Plaintiffs counsel and

  enclosed the same with its correspondence advising Plaintiff of its intention to remove the matter.

  Attached hereto as part of Exhibit 'r2r' is the proposed Joint Stipulation of Alleged Damages for

  signing by Plaintiffs counsel. One of the main basis of the Joint Stipulation was to cap alleged

  damages and thus preclude removal of this matter to federal court.

          5.        Additionally, on July 18, 2018, CBRE served its jurisdictional Request for

  Admissions to Plaintiff, requesting that Plaintiff "Admit the alleged amount in controversy for the

  claims alleged by Plaintiff in the Complaint exceeds $75,000.00, exclusive of interest and costs."

  Attached hereto as Exhibit "4" is a true and correct copy of Defendant's Request for Admissions

  to Plaintiff dated April17,2018.




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             6.       On July 19, 2018, Plaintiffs Counsel sent correspondence advising "that the

  Plaintiffs will not be entering into any stipulation of damages". Attached hereto                              as part     of Exhibit

  rr2rr
          is the correspondence from Plaintiffs Counsel.

             7.       On August 15, 2018, Plaintiff responded to CBRE's Request for Admissions with

  improper objections and without admitting or denying whether the alleged amount in controversy

                                                                            rr4rr
  exceeds $75,000.00. Attached hereto as part of Exhibit                            is a true and correct copy of Plaintiff               s


  Response to Defendant's Request for Admissions.

             8.       On August 20,2018, CBRE, in a good faith effort to avoid the need for court

  intervention, sent correspondence to Plaintiff advising that their responses to our Request for

  Admissions were deficient and requesting that they amend their responses. Attached hereto                                       as    part

  of Exhibit "4'r is correspondence sent by CBRE to Plaintiff.

             9.       On the same day CBRE sent its letter to Plaintiff regarding their responses to

  CBRE's Request for Admissions, August 20, 2018, Plaintiff with correspondence of their own

  advising that they believed their responses to be "correct". Attached hereto as part of Exhibit "4"

  is correspondence sent by Plaintiff to CBRE.

             10.      On August 23,2018, CBRE filed its Motion to Compel Better Responses to Request

                                                                        rr4r'
  for Admissions. Attached hereto as part of Exhibit                            is Defendant's Motion to Compel Better

  Responses to Request for Admissions.

             11.      On the same day CBRE filed its Motion to Compel Better Responses to Request

  for Admissions, August23,2018, Plaintiff filed its Amended Responses to Defendant's Request

  for Admission. Notably, Plaintiff admitted that the alleged amount in controversy for the claims

 alleged by Plaintiff in the Complaint exceeds $75,000.00, exclusive of interest and costs. Attached

 hereto as part of Exhibit rr4'r is a true and correct copy of Plaintiffls Amended Responses to

 Defendant's First Request for Admissions.



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            12.        The time for removal did not begin to run until August 23,2018 when Plaintiff

  admitted the alleged amount in controversy exceeds $75,000.00. See 28 USC $ 1441; Austin                                          v.


  Harbour Behavioral Health Care Inst., No. 5:07-cv-173-Oc-10GRJ, 2007 WL 2050912 (M.D.

  Fla. 2007) (Where the basis for federal jurisdiction does not appear in the initial pleading, but

  arises subsequently, the defendant must file a notice of removal within thirty days after receipt by

  Defendant of a motion or "other paper" from which it may be first ascertained the case is one which

  is or has become removable); atrd Murchison v. Progressive Northern Ins. Co.,564 F. Supp. 2d

  131   I (E.D. Okla.     2008) (holding that the denial of a request for admission was "other paper" under

  the meaning of $ 1446(b).

            13.        This Notice is thus filed within thirty (30) days of the date that CBRE first received

  a   copy ofthe Plaintiffs Amended Responses to Request for Admissions to Plaintiff and determined

  that the action was removable. Therefore, this Notice is filed in compliance with 28 U.S.C.                                        $


  r446(b).

            14.        Defendant seeks removal to the Southern District                       of Florida, Fort          Lauderdale

  Division, the District in which the action is now pending.

            15.        Following the filing of this Notice with this Court, written notice of the filing of

  same    will    be provided to the attorney for Plaintiff as required by law.

            16.        Following the filing of this Notice with this Court,                a true and accurate copy             of the

  same    will    be filed with the Clerk of Court of the 17th Judicial Circuit Court in and for Broward

  County, Florida as required by law.

            17.       Attached to this Notice as Exhibits are all true and legible copy of all process,

 pleadings, orders and other papers or exhibits of every kind on file in the State Court.




                                                               -4-
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            18.    This Court has removal jurisdiction of this action under the provisions of Title 28

  of the United States Code, $        laal(a). This Courl has original jurisdiction of this action                    under the

  provisions of Title 28 of the United States Code, $ 1332.

            19.    Plaintiffs are citizens of Florida and the Defendant, CBRE, is a Foreign Profit

  Corporation with its principal place of business located at 400 South Hope Street, 25th floor, in

  Los Angeles, California. CBRE is therefore acitizenof the state of California.

            20.    Accordingly, there is complete diversity of citizenship between the actual and real

  parties, the requirements of 28 U.S.C. $ 1441(b) have been met since Defendant is not a citizen                              of
  Florida, the State in which this action was brought. Thus, this Court has removal jurisdiction on

  the face of the Complaint based upon diversity of citizenship.

                                                  III.   CONCLUSION

            The amount in controversy exceeds $75,000.00, exclusive of interest and costs. Complete

  diversity exists because Plaintiff is a citizen of Florida and Defendant CBRE is a citizen of

  California. Accordingly, Defendant CBRE respectfully request that this action proceed in this

  Court as an action properly removed pursuant to 28 U.S.C. $ 1332, et seq., and28 U.S.C. $ 1441,

  et seq.


                                                          s/ Michael A. Garcia
                                                          Michael Alexander Garcia
                                                          Fla. Bar No. 0161055
                                                          Email : mgar cia@fowler-white. com

                                                          FOWLER WHITE BURNETT, P.A.
                                                          Brickell Arch, Fourteenth Floor
                                                          1395 Brickell Avenue
                                                          Miami, Florida 33131
                                                          Telephone: (305) 789-9200
                                                          Facsimile: (305) 789-9201




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       FOWLER WHITE BURNETT P.A.   . BRICKELL ARCH, 1395 BzucKELL AVENUE, I4rrr FLooR, MIAMI, FLoRIDA 33I3I . (305) 789.9200
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                                          CERTIFICATE            OF' SERVICE

          I hereby certify that on August 24,2018, the foregoing document was electronically filed

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record on the attached Service List in the manner specified, either

  via transmission ofNotices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically Notices                             of
  Electronic Filing.

                                                               s/ Michael A. Garcia
                                                               Michael A. Garcia




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                                                    SERVICE LIST


   Paul M. Hoffrnan, Esq.
   Hoffinan Law Firm
   2881 E. Oakland Park Blvd.
   Fort Lauderdale, FL 33306
   E-Mail : pmh@paulmhoffmanlaw. com
   Telephone: (954) 707 -5040
   Facsimile: (9 54) 563 -817 |
   Attorney for Plaintiffs




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      FowLER WHIrE BuRNErr P.A. . BzucKELL ARCH, 1395 BRTCKELL AVENUE, l4rrr FLooR, MrAMr, FLoRTDA 33131 . (305) 789-9200
